              Case 1:11-cv-03743-LGS Document 951 Filed 11/20/20 Page 1 of 1

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                                         November 20, 2020
VIA CM/ECF
Honorable Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:      Kassman v. KPMG LLP, Civ. No. 11-cv-3743 (LGS)

Dear Judge Schofield:

Pursuant to this Court’s Order at Docket No. 949, the Parties submit this joint letter apprising the
Court of the status of mediation. The Parties are scheduled to mediate on December 9, 2020.

Since the October 14, 2020 filing, in which Plaintiffs’ Counsel noted it had received authority from
each of the Named Plaintiffs and 437 fact sheet Plaintiffs, Plaintiffs have since received additional
authority. At this time, Plaintiffs’ Counsel has authority from each of the Named Plaintiffs and
from 443 out of 444 fact sheet Plaintiffs, and Plaintiffs are continuing to make best efforts to notify
the remaining individual of the mediation information. The Parties will provide another update
within 30 days in accordance with the Court’s Order.


                                               Respectfully Submitted,


                                               Kate Mueting, Counsel for Plaintiffs
                                               Colleen M. Kenney, Counsel for KPMG

CC: All Counsel of Record, via ECF
